Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 1 of 11 PageID #:10




                 EXHIBIT 1
               Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 2 of 11 PageID #:11
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ Districtof
                                                                           ofIllinois
                                                                              __________
             In re Application of
                                                                              )
             ATIKU ABUBAKAR                                                   )
                                                                              )        Civil Action No. 1:23-cv-5099
             For an Order Directing Discovery from                            )
             CHICAGO STATE UNVERSITY                                          )
                                                                              )
             Pursuant to 28 U.S.C. § 1782.
                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                    Chicago State University, Admin. Room 128
To:                                                9501 South King Drive, Chicago, Illinois 60628

                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A hereto



 Place: DECHERT LLP                                                                     Date and Time:
         35 West Wacker Drive, Suite 3400
                                                                                        August 23, 2023 at 5:00 p.m. CDT, unless otherwise
         Chicago, Illinois 60601
                                                                                        ordered by the Court

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Atiku Abubakar
                                                                        , who issues or requests this subpoena, are:
Angela Liu; 35 West Wacker Dr., Suite 3400, Chicago, Illinois 60601; Angela.Liu@dechert.com; (312) 646-5800
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 3 of 11 PageID #:12
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
                Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 4 of 11 PageID #:13
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
       Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 5 of 11 PageID #:14




                                       ATTACHMENT A

  I.     DEFINITIONS

         Unless otherwise defined, all words and phrases used herein shall be accorded their usual

meaning and shall be interpreted in their common, ordinary sense. As used in these Requests, the

words and terms set forth below shall be defined as follows:

        1.      “All” shall be understood to encompass the terms “all,” “any,” and “each.”

        2.      “All documents” shall be understood to encompass every document, whether an

original or copy.

        3.      “And” and “or” shall be understood conjunctively or disjunctively as necessary to

bring within the scope of these Requests all information, documents, things, or communications

that might otherwise be construed to be outside of their scope.

        4.      “Applicant” means Atiku Abubakar.

        5.      “Certification” means the certification or similar document that was prepared by or

for CSU Deputy General Counsel, Jamar Orr, Esq. dated on or about June 28, 2023, and reportedly

submitted in the Nigerian proceedings on or about July 4, 2023.

        6.      “Communications” shall be construed in the broadest sense to include any oral or

written transmittal of information, facts, opinions, ideas, or thoughts between persons including,

but not limited to, by means of Documents, and includes the transfer of data from one location to

another by electronic or similar means.       Communications” include, but are not limited to:

dialogues, colloquies, discussions, or conversations via telephone, video conference, or in-person

meeting; text messages; instant or social media messages; e-mails; and calendar invitations.

        7.      “CSU” refers to Chicago State University and any of its current or former agents,

employees, attorneys, representatives, or any other individual or entity acting for its benefit or on

its behalf.
    Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 6 of 11 PageID #:15




     8.        “Documents” is synonymous to and coextensive with its meaning in Federal Rule

of Civil Procedure 34. “Documents” shall include, but are not limited to: all objects, tangible or

intangible, from which information may be derived, however reproduced, including any recording

in any tangible form of any information, whether handwritten, typed, printed, stored electronically

on computer disks, tapes, or databases, or otherwise stored or reproduced. Further, “documents”

includes, but is not limited to: books, pamphlets, periodicals, letters, reports, memoranda, drafts,

handwritten notes, notations, messages, e-mails, text messages, facsimiles, voicemails, records,

videotapes, studies, analyses, summaries, bulletins, instructions, minutes, photographs,

tabulations, questionnaires, surveys, drawings, sketches, working papers, charts, graphs, indices,

tapes, correspondence, agreements, trip reports, releases, estimates, opinions, electronic or other

video and/or audio recordings of any kind, transcriptions, or any and all other written, printed,

typed, taped, filmed, or graphic matter or tangible thing, of whatsoever description, however

produced or reproduced (including computer stored or generated data, together with instructions

and programs necessary to search or retrieve such data), and shall include all attachments and

enclosures to any requested item, which shall not be separated from the items to which they are

attached or enclosed.

     9.        “Including” and “including, but not limited to” are intended to illustrate the kind of

information responsive to each Request herein.         Such examples are not exhaustive of the

information sought and shall not be read to limit the scope of the Requests.

    10.        “Mr. Tinubu” means Bola Ahmed Tinubu and any of his agents, attorneys,

representatives, or any other individual or entity acting on his behalf.

    11.        “Nigerian proceedings” refers to the proceedings between Petitioners Atiku

Abubakar and the People’s Democratic Party, and Respondents Bola Ahmed Tinubu, the




                                                  2
    Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 7 of 11 PageID #:16




Independent National Electoral Commission, and the All Progressives Congress, initiated on or

about March 21, 2023 in the Court of Appeal (In the Presidential Election Petition Court), Holden

at Abuja, to challenge the conduct and subsequent results of Nigeria’s presidential elections held

on February 15, 2023; the proceedings between Mike Enahoro-Ebah and Bola Ahmed Tinubu,

initiated on or about November 10, 2022 in the Chief Magistrate Court of the FCT in the

Magisterial District, Holden at Abuja; the proceedings between Petitioners Peter Obi and the

Labour Party and Respondent the Independent National Electoral Commission, Bola Ahmed

Tinubu, and the All Progressives Party, initiated on or about March 20, 2023 in the Court of Appeal

(In the Presidential Election Court) at Abuja to challenge the qualifications of Mr. Tinubu and the

conduct of the Presidential elections; and any other proceedings brought in the Nigerian courts to

challenge the electoral process and/or results in Nigeria’s February 2023 Presidential elections.

    12.           “Referring,” “relate to,” “related to,” and “relating to” shall be construed in their

broadest possible sense, and include, but are not limited to: referring to, reflecting, memorializing,

comprising, constituting, containing, creating, bearing upon, identifying, supporting, showing,

contradicting, defining, discussing, describing, evidencing, setting forth, underlying, commenting

upon, forming the basis of, analyzing, deriving or arising from, or mentioning in any way the

pertinent subject matter.

    13.           “You” and “Your” refers to Chicago State University and any of its current or

former agents, employees, attorneys, representatives or any other individual or entity acting for its

benefit or on its behalf.

    14.           The use of the singular form of any term shall be construed to include its plural,

and vice versa.




                                                    3
       Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 8 of 11 PageID #:17




       15.      The past tense includes the present tense, and vice versa, when the clear meaning

is not distorted by changing the tense.

       16.      To the extent these Requests use a term that is defined by the Federal Rules of Civil

Procedure, the term is to be construed in accordance with its definition under the Federal Rules of

Civil Procedure and/or applicable law, unless the term is defined more broadly herein.

 II.      INSTRUCTIONS

        1.      In accordance with Federal Rules of Civil Procedure 26 and 45, You shall produce

all responsive Documents in Your possession, custody, or control, as they are kept in the usual

course of business including, but not limited to, all Documents within the possession, custody, or

control of Your attorneys and investigators for Your attorneys, or anyone else employed on Your

behalf.

        2.      You shall organize and label them to correspond with the categories of the

following Requests.

        3.      A request for any Document shall be deemed to include a request for any and all

drafts thereof, and all revisions thereto, in addition to the Document itself.

        4.      All discovery requests shall be construed pursuant to the applicable Federal Rules

of Civil Procedure, the Local Rules of this Court, any relevant orders of this Court, and any

stipulation agreed upon by the parties.

        5.      All copies of Documents which are not identical duplicates of the originals, such as

where handwritten notes appear on them or are attached to them, are to be considered separate

Documents and must be produced.

        6.      If You withhold any Documents on the basis of any claim of privilege, You must

identify the following: the privilege or immunity from discovery You are asserting; the

circumstances that give rise to the privilege or immunity; the person or persons who prepared,


                                                  4
        Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 9 of 11 PageID #:18




authored, or executed the Document; the person or persons to whom the Document or copy thereof

was sent or by whom it was received; the date on which the Document was prepared, sent, or

received; the person or persons to whom the information has otherwise been communicated and

the dates of the communications; the subject matter of the Document; and the nature of the

Document (e.g., letter, e-mail, etc.).

         7.      Electronically-stored documents must be produced either in their native format with

all associated metadata, or as .tiff or .pdf image files along with a load file containing all associated

metadata. Notwithstanding the foregoing, Excel spreadsheets must be produced in their native

format with all associated metadata. Additionally, all other file types must also be produced in

their native format with all associated metadata when reasonably necessary to enable the records

to be reviewed. Electronically-stored documents must be produced in a manner that indicates the

original filename, location (e.g., pathname), and custodian of the document.

         8.      If the electronically-stored documents are text-searchable in their native format,

then any production as .pdf image files must be in the form of text-searchable .pdf files, and any

production as .tiff image files must be accompanied by load files that contain the extracted text

that is searchable and that indicates the document breaks.

         9.      You are not obligated to convert a document that is not searchable in its native

format to a searchable format before producing the document. However, to the extent that you

convert otherwise non-searchable documents into a searchable format for use in a litigation

document management system, you must produce the text-searchable versions of such documents.

        10.      If You are unable to answer or respond fully to any Document request, answer or

respond to the extent possible and specify the reasons for Your inability to answer or respond in

full.




                                                   5
   Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 10 of 11 PageID #:19




III.   DOCUMENT REQUESTS

Request No. 1.

       All documents produced by CSU in response to the subpoena served on CSU on or about

August 11, 2022, by Mike Enahoro-Ebah in Mike Enahoro-Ebah, et al. v. University of Chicago,

et al., Case No. 2022L007289 (Cook County, Illinois), and all communications to, from, or within

CSU concerning that subpoena and the documents produced in response thereto.

Request No. 2.

        All documents produced by CSU in response to any request (by subpoena or otherwise) by

Mr. Tinubu or any other person for CSU records relating to Mr. Tinubu, all documents constituting

or reflecting any such request, and all communications to, from, or within CSU concerning such

request, and any documents produced in response thereto.

Request No. 3.

       The Certification and all documents related to the Certification, including, without

limitation, all drafts of the certification and all communications to, from, or within CSU concerning

the Certification.

Request No. 4.

        All documents certified by Jamar Orr, Esq. or by any other person employed by or acting

on behalf of CSU, for use by Mr. Tinubu or any other person or entity in relation to the Nigerian

proceedings.

Request No. 5.

        Documents sufficient to reflect the format, contents, and certifications of CSU diplomas

issued by CSU for B.S. degrees from 1979, including, without limitation, documents sufficient to

demonstrate any modifications to the format, contents, and certification of CSU diplomas from

1979 to the present.


                                                 6
   Case: 1:23-cv-05099 Document #: 1-1 Filed: 08/02/23 Page 11 of 11 PageID #:20




Request No. 6.

       All diplomas issued by CSU to Mr. Tinubu, and all documents reflecting or relating to such

diploma(s).

Request No. 7.

       All communications between CSU and Mr. Tinubu related to Mr. Tinubu’s attendance at

CSU.




                                               7
